                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA           )
                                   )
              v.                   )              DOCKET NO. 3:03CR59-V
                                   )
                                   )                      ORDER
MARQUIS RAYSHAWN FISHER            )
                                   )
__________________________________ )

     THIS MATTER is before the court upon United States Attorney for the Western District of
North Carolina’s motion that the sentence of imprisonment of sixty (60) months be reduced to
forty-eight (48) months, based upon the defendant’s substantial assistance and that the matter be
resolved by Order of the Court without the benefit of a hearing or oral argument.

      IT IS THEREFORE ORDERED that the sentence of imprisonment of sixty (60) months
be reduced to forty-eight (48) months.

     The clerk is directed to certify copies of this order to Defendant, counsel for Defendant, to
the United States Attorney, the United States Marshal’s Service and the United States Probation
Office.

     IT IS SO ORDERED.
                                                 Signed: February 27, 2007




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